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NOT|CE

Dear M|CHAEL CASTA|N:

Our records show there is still a balance on this past due account. We would like to help you resolve this
account P|ease contact our office so we can discuss a payment option that works for you.

Please respond to this letter within seven days or we may take additional collection efforts

Please see reverse side for important information.
re ' Or Number Reference # Date Due
E|\/|ERGENCY AMBULANCE
SERV|CE |NC -1413 -2208 02/03/16 $561.00

Phone or Web Payment

""=‘z 3 For inquiries or to make a payment by phone,l please call
g MRS REED at (888) 913-7499 or (914) 499-3669.
To make a secure payment online, please visit
www.cbhv.com/make-online-payment

 

Collectlon Bureau of the Hudson Valley, |nc. - Address and Oflice l-lours lEastern Time)':.

PO Box 831 ' 155 North Plank Road - Newburgh, NY 12550
Monday wroth Thursday: 8:30 AM -- 9:00 PM - Friday: 8:30 AM -- 5:00 PM ~ Saturday: 8130 AM --12:30 Pl\ll
Phone: (845) 561~6-880 * (800) 745-1395 ' Fax: (845) 913-7403

Member of ACA lntemational Since 1975

 

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CBHV’s hospital clients may have financial assistance programs. lf you_ feel you may qualify for these programs
please call and speak to one of our collection specialists at (888) 913-7499.

w Y r l
New York City Department of Consumer Affairs License Number: 0905924

` NY \NFORMAT\ON
H|S lS AN ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR AND A
T OBTAINED WlLL BE USED FOR THAT PURPOSE.

 

